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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                         WESTERN DIVISION - CINCINNATI

 CABATECH, LLC,                                        Case No. 1:22-cv-59

                       Plaintiff,                      Judge Matthew W. McFarland

                V.


 NEXTLIGHT, LLC,

                       Defendant.


                                           ORDER


       This matter is before the Court on Defendant's Counsel's Motion to Withdraw as

Counsel (Doc. 33).

       When determining whether to permit counsel to withdraw, the Court weighs the

prejudice to counsel against the prejudice to the client or third parties. See Brandon v. Blech,

560 F.3d 536, 539 (6th Cir. 2009). Attorneys Paul T. Saba and Christopher R. Jones seek to

withdraw as counsel for Defendant Nextlight, LLC because Defendant has failed to meet

its financial obligations, despite Attorneys Saba and Jones's attempts to resolve the issue.

(See Motion, Doc. 33, Pg. ID 336.) "[C] ompelling attorneys to continue representing clients

who refuse to pay imposes a severe burden" and constitutes a "weighty policy reason □

to allow withdrawal." See Brandon v. Blech, 560 F.3d 536, 538 (6th Cir. 2009). Attorneys

Saba and Jones have therefore shown sufficient prejudice to justify their withdrawal as

Defendant's counsel and may be removed as attorneys of record for Defendant.

       That said, Defendant is a limited liability company. In federal court, a corporate

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entity may not represent itself; it may only appear through an attorney. E.g., Doherty v.

Am. Motors Corp., 728 F.2d 334, 340 (6th Cir. 1984). In turn, this matter cannot proceed

substantively until new counsel enters an appearance on behalf of Defendant.

       Accordingly, a stay is proper to provide Defendant time to retain new counsel.

Defendant is advised that it must promptly seek counsel to represent it in this litigation,

as Plaintiff is entitled to a timely resolution of this matter. Defendant's failure to retain

counsel within a reasonable timeframe may result in adverse consequences. See Iron

Workers Dist. Council of S. Ohio & Vicinity Benefit Tr. v. K-COR, LLC, No. 3:14-CV-368, 2015

U.S. Dist. LEXIS 177780, at *1 (S.D. Ohio Nov. 13, 2015).

       Thus, the Court ORDERS the following:

       (1) Defendant's Counsel's Motion to Withdraw (Doc. 33) is GRANTED. Attorneys

          Paul T. Saba and Christopher R. Jones SHALL BE REMOVED as attorneys of

          record for Defendant; and

       (2) This matter is STA YED for thirty (30) days from the date of this Order so that

          Defendant may obtain new legal counsel.

      IT IS SO ORDERED.


                                                 UNITED STATES DISTRICT COURT



                                             By: ~~~~
                                                 JUDGE MATTHEW W. McFARLAND




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